446 F.2d 642
    William E. GODWIN, Plaintiff-Appellant,v.Curtis PHELPS and the City of Okeechobee, Florida,Defendants-Appellees.No. 71-1670 Summary Calendar.**Rule 18, 5 Cir.; See Isbell Enterprises Inc.,v.Citizens Casualty Company of New York et alM 5 Cir. 1970,431 F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Aug. 17, 1971.
    
      F. Malcolm Cunningham, Cunningham &amp; Cunningham West Palm Beach, Fla., for plaintiff-appellant.
      J. Edward Curren, Okeechobee, Fla., Carlton, Brennan &amp; McAliley, John T. Brennan, Fort Pierce, Fla., for defendants-appellees.
      Before COLEMAN, SIMPSON and MORGAN, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    